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 17
                          UNITED STATES DISTRICT COURT
 18
                        SOUTHERN DISTRICT OF CALIFORNIA
 19
 20   E.A.R.R.; G.S.E.R, A MINOR CHILD,       Case No. 3:20-cv-02146-TWR-BGS
      by and through his mother and NEXT
 21   FRIEND, E.A.R.R; B.A.E.R., A            UPDATED JOINT NOTICE OF
      MINOR CHILD, by and through his         SETTLEMENT
 22   mother and NEXT FRIEND, E.A.R.R;
      L.Y.G.; H.A.H.G.; J.A.E.M; Y.J.C.E, A
 23   MINOR CHILD, by and through his
      mother and NEXT FRIEND, J.A.E.M.;
 24   S.F.L.; C.J.M.L., A MINOR CHILD, by
      and through his mother and NEXT
 25   FRIEND, S.F.L.; Y.M.M.; J.C.M.M., A
      MINOR CHILD, by and through her
 26   mother and NEXT FRIEND, Y.M.M.;
      G.F.F.; M.Y.J.L.; M.M.G., A MINOR
 27   CHILD, by and through his mother and
      NEXT FRIEND, V.A.G.; D.Y.S., A
 28   MINOR CHILD, by and through his
                                                         CASE NO. 20-CV-02146
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  1   mother and NEXT FRIEND, M.S.S.;
      S.M.A., A MINOR CHILD, by and
  2   through her mother and NEXT
      FRIEND, K.A.M.; D.G.M.; N.R.R.;
  3   H.H.M.; E.H.M.; C.J.V.C., A MINOR
      CHILD, by and through his mother and
  4   NEXT FRIEND, M.C.; La.V.S.O., A
      MINOR CHILD, by and through her
  5   mother and NEXT FRIEND,
      A.A.F.S.O.; and, AL OTRO LADO, an
  6   organization,
  7                  Plaintiffs,
  8         v.
  9   U.S. DEPARTMENT OF HOMELAND
      SECURITY (“DHS”); ALEJANDRO
 10   MAYORKAS, Secretary of the
      Department of Homeland Security, in
 11   his official capacity; U.S. CUSTOMS
      AND BORDER PROTECTION
 12   (“CBP”); and TROY A. MILLER,
      Senior Official Performing the Duties of
 13   the Commissioner of U.S. Customs and
      Border Protection, in his official
 14   capacity,
 15
                     Defendants.
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                                                         CASE NO. 20-CV-02146
Case 3:20-cv-02146-TWR-BGS Document 63 Filed 07/09/21 PageID.1086 Page 3 of 6



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     Case 3:20-cv-02146-TWR-BGS Document 63 Filed 07/09/21 PageID.1087 Page 4 of 6




 1          As ordered by the Court on June 28, 2021 (Dkt. No. 62), the parties and their counsel
 2    reiterate that that a settlement in principle has been reached. The parties are working
 3    together in preparing and exchanging drafts of the formal settlement agreement with a goal
 4    of executing the agreement before the end of July of 2021. Candidly, counsel for both parties
 5    have attended to personal family matters that have slowed the completion of the agreement.
 6    That being said, the parties are committed to finalizing the settlement and are working
 7    diligently toward meeting our goal. As such, the parties respectfully request that the Court
 8    vacate or extend the date to file a Rule 26(f) Report but to maintain the Telephonic Case
 9    Management Conference on July 21, 2021.
10
11    DATED: July 9, 2021             Respectfully submitted,
12
13                                    /s/ Lillian J. Mao
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22    *Pro hac vice application forthcoming
      ** Pro hac vice application pending
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     Case 3:20-cv-02146-TWR-BGS Document 63 Filed 07/09/21 PageID.1089 Page 6 of 6




 1          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 2    Procedures of the United States District Court for the Southern District of California, I
 3    certify that the content of the foregoing document is acceptable to Plaintiffs’ counsel, and
 4    that I have obtained authorization from Plaintiffs’ counsel to affix their electronic signatures
 5    to this document.
 6                                                      /s/ Paul Starita
 7                                                      PAUL STARITA
                                                        Assistant U.S. Attorney
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